Case 1:24-cv-07963-JGK Document7 Filed 11/11/24 Pageiofi1

AFFIRMATION OF SERVICE

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Index Number: 1:24-CV-07963-JGK Date Filed: 10/21/2024
Plaintiff:

Juan Igartua, on behalf of himself and all others similarly situated

vs.

Defendant:

Columbia Care NY LLC d/b/a Cannabist

State of New York, County of Albany)ss.:

Received by Meridian Investigations & Security to be served on Columbia Care NY LLC D/B/A Cannabist,
C/O Corporation Service Company, 80 State Street, Albany, NY 12207.

|, Patricia Burke, do hereby affirm that on the 5th day of November, 2024 at 2:30 pm, I:

served a REGISTERED AGENT by delivering a true copy of the Summons in a Civil Action, Class
Action Complaint and Demand for Jury Trial to: Minard Carkner as Litigation Management
Specialist of Corporation Service Company, Registered Agent, at the address of: C/O Corporation
Service Company, 80 State Street, Albany, NY 12207 on behalf of Columbia Care NY LLC D/B/A
Cannabist

Description of Person Served: Age: 38, Sex: M, Race/Skin Color: White, Height: 6'0", Weight: 220, Hair:
Brown, Glasses: N

| certify that | am over the age of 18, have no interest in the above action.

| affirm on j| [fou , under the penalties of perjury under the laws of New York, which may
include a fine or imprisonment, that the foregoing is true, and | understand that this document may be filed

in an action or proceeding in a court of law.

Patric urke
roeess Server

Meridian Investigations & Security
48 Davis Avenue
Port Washington, NY 11050

Our Job Serial Number: SRN-2024006018

Copyright © 1992-2024 DreamBuilt Software, Inc. - Process Server's Toolbox V9.0a
